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                                                                               [ECF No. 3041]

                          THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY
                                  CAMDEN VICINAGE


  IN RE: VALSARTAN, LOSARTAN, AND                   MDL No. 19-2875
  IRBESARTAN PRODUCTS LIABILITY
  LITIGATION


  THIS DOCUMENT RELATES TO:

  All Cases


                            CASE MANAGEMENT ORDER NO. 39

        This matter having come before the Court upon Defendants’ motion [ECF No. 3041]; and

 Defendants seeking an order amending Case Management Order (“CMO”) No. 6 [ECF No. 96],

 as amended by CMO No. 18 [ECF No. 313]; and there being no opposition to the motion; and

 good cause existing for the entry of this Order,

        IT IS HEREBY ORDERED this 13th day of May, 2025, that the motion [ECF No. 3041]

 is GRANTED. Kristen L. Richer, Esquire of Barnes & Thornburg LLP is hereby substituted as a

 member of the Defense Executive Committee in place of Sarah E. Johnston, Esquire.


                                                    s/ Sharon A. King
                                                    SHARON A. KING
                                                    United States Magistrate Judge


 cc: Hon. Renée Marie Bumb, Chief Judge
